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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 LIGHT TRANSFORMATION
 TECHNOLOGIES LLC,

               PLAINTIFF,
                                                  Case No.: 2:12-cv-00826-MHS-RSP
         v.                                       LEAD CASE

 LIGHTING SCIENCE GROUP
 CORPORATION and HOME DEPOT
 U.S.A., INC.,

               DEFENDANTS.

                                NOTICE OF DISCLOSURE

         Defendants Lighting Science Group Corporation and Home Depot U.S.A., Inc. hereby

 notify the Court that, pursuant to the Court’s Case Management Plan (Dkt. 49) and Local Rule

 CV-26(c), Defendants served opposing counsel with their Initial Disclosures on January 21,

 2014.


 Dated: January 21, 2014                    /s/ Adam Wolek
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                                           Adam Wolek
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                                           Attorneys for Defendants Lighting Science Group,
                                           Corp. and Home Depot, U.S.A., Inc.
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                               CERTIFICATE OF SERVICE

         I hereby certify that on this the 21st day of January, 2014, I caused the foregoing
 document to be electronically filed with the Clerk of the Court using the CM/ECF system, which
 will send notification of such filing to all attorneys of record in this action.


                                            /s/ Adam Wolek
                                            Adam Wolek




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